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                           NO. 23-90013-B
__________________________________________________________________

               UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
__________________________________________________________________

                         Gawain Baxter, et al.,
                         Plaintiffs–Petitioners,

                                   v.

                        David Miscavige, et al.,
                       Defendants–Respondents.
__________________________________________________________________

         On Petition for Review from the United States District Court
                       for the Middle District of Florida
                                Tampa Division
                        Case No. 8:22-cv-986-TPB-JSS
__________________________________________________________________



           CERTIFICATE OF INTERESTED PERSONS
   ON BEHALF OF PLAINTIFFS-PETITIONERS GAWAIN BAXTER,
            LAURA BAXTER, AND VALESKA PARIS


                           Theodore J. Leopold
                           Fla. Bar. No. 705608
                          Manuel Juan Dominguez
                            Fla. Bar No. 54798
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       PETITIONERS’ CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and

Eleventh Circuit Rules 26.1-1 — 26.1-3, counsel for Petitioners certifies that the

following is a complete list of all trial judges, attorneys, persons, associations of

persons, firms, partnerships, or corporations that have an interest in the outcome of

this action, including subsidiaries, conglomerates, affiliates, parent corporations, and

any publicly held corporation that owns 10% or more of the party’s stock, and other

identifiable legal entities related to a party:

   1. Barber, Thomas Patrick, United States District Judge

   2. Baxter, Gawain, Plaintiff-Petitioner

   3. Baxter, Laura, Plaintiff-Petitioner

   4. Bennett, Justin P., attorney representing Defendant David Miscavige

   5. Cech Samole, Brigid F., attorney representing Defendant-Respondent,

       Church of Scientology Flag Ship Service Organization, Inc.

   6. Church Of Scientology Flag Service Organization, Inc. (FSO), Defendant-

       Respondent

   7. Church Of Scientology Flag Ship Service Organization, Inc. (FSSO),

       Defendant-Respondent

   8. Church Of Scientology International, Inc., Defendant-Respondent



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 9. Cohen Milstein Sellers & Toll PLLC, law firm representing Plaintiffs-

    Petitioners

 10.Crespo, Janelly, attorney representing Respondent Religious Technology

    Center, Inc.

 11.Dean, Zahra R., attorney representing Plaintiffs-Petitioners

 12.DLA Piper, US, LLP, law firm Representing Respondent Religious

    Technology Center, Inc.

 13.Dominguez, Manuel J., attorney representing Plaintiffs-Petitioners

 14.Durham, Krystal, attorney representing Defendant-Respondent David

    Miscavige

 15.Forman, William Hobbes, attorney representing Respondent Church of

    Scientology International, Inc.

 16.Fryszman, Agnieszka M., attorney representing Plaintiffs-Petitioners

 17.Glazer, Neil L., attorney representing Plaintiffs-Petitioners

 18.Greenberg Traurig, P.A., law firm representing Respondent FSSO

 19.Gunster, Yoakley & Stewart, P.A., law firm representing Respondent David

    Miscavige

 20.Hansel, Gregory P., attorney representing Petitioners

 21.Harris, Jr., Charles M., attorney representing Respondents FSO and FSSO




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 22.International Association of Scientologists Administrations (IASA),

    Defendant-Respondent

 23.Johnson, Pope, Bokor, Ruppel & Burns, LLP, law firm representing

    Respondent IASA

 24.Kohn, Elias, attorney representing Plaintiffs-Petitioners

 25.Kohn, Joseph C., attorney representing Plaintiffs-Petitioners

 26.Kohn, Swift & Graf, P.C., law firm representing Plaintiffs-Petitioners

 27.Leighton, Shelby, attorney representing Plaintiffs-Petitioners

 28.Leopold, Theodore, attorney representing Plaintiffs-Petitioners

 29.Manohar, Aarthi, attorney representing Plaintiffs-Petitioners

 30.Martin, Diana, attorney representing Plaintiffs-Petitioners

 31.Membiela, Gustavo Javier, attorney representing Respondent Church of

    Scientology International, Inc.

 32.Merenda, Brigid Anne, attorney representing Respondents FSO and FSSO

 33.Miscavige, David, Defendant-Respondent

 34.Oprison, Christopher George, attorney representing Respondent Religious

    Technology Center, Inc.

 35.Pandher, Bethany J. M., attorney representing Defendant-Respondent

    Church of Scientology Flag Ship Service Organization

 36.Paris, Valeska, Plaintiff-Petitioner


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 37.Porter, Brian C., attorney representing Respondent FSSO

 38.Potter, Robert Vernon, attorney representing Respondent IASA

    Administrations, Inc.

 39.Preti Flaherty Beliveau & Pachios, Chartered, LLP, law firm representing

    Plaintiffs-Petitioners

 40.Public Justice, a nonprofit legal advocacy organization representing

    Plaintiffs-Petitioners

 41.Quinby, Elizabeth F., attorney representing Plaintiffs-Petitioners

 42.Religious Technology Center (RTC), Defendant-Respondent

 43.Schifino, Jr., William J., attorney representing Respondent David Miscavige

 44.Schneiderman, Brendan, attorney representing Plaintiffs-Petitioners

 45.Solomon, Shana M., attorney representing Plaintiffs-Petitioners

 46.Terry, Joseph Marshall, attorney representing Respondent David Miscavige

 47.Tomassi, Marie, attorney representing Defendant-Respondent Church of

    Scientology Flag Service Organization

 48.Trenam, Kemker, Scharf, Barkin, Frye, O’neill & Mullis, law firm

    representing Respondents FSO and FSSO

 49.Warren A. Zimmerman, P.A., law firm representing Plaintiffs-Petitioners




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   50.Weinstein , David, attorney representing Respondent Church of Scientology

      FSSO

   51.Williams & Connolly LLP, law firm representing Respondent David

      Miscavige

   52.Winston & Strawn LLP, law firm representing Respondent Church of

      Scientology International, Inc.

   53.Zimmerman, Warren A., attorney representing Plaintiffs-Petitioners

   Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit Rules

26.1-1 — 26.1-3, Plaintiffs-Petitioners certify that no publicly traded company or

corporation has an interest in the outcome of the case or appeal.

Dated: July 10, 2023                           Respectfully submitted,

                                               /s/ Theodore J. Leopold
                                               Theodore J. Leopold
                                               Fla. Bar No. 705608
                                               Manuel Juan Dominguez
                                               Fla. Bar No. 54798
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                                               Counsel for Plaintiffs-Petitioners




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2023, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Eleventh Circuit

by using the CM/ECF system and that the foregoing document is being served this

day on all counsel of record via transmission of the Notice of Electronic Filing

generated by CM/ECF.

                                       By: s/Theodore J. Leopold
                                             Theodore J. Leopold




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